Filed 10/01/19                                 Case 19-21640                                     Doc 124




            1    3 PAGES
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                 Attorneys for Creditor
            6    Hall Mortgage Fund, LP

            7
            8                        UNITED STATES BANKRUPTCY COURT

            9                         EASTERN DISTRICT OF CALIFORNIA

           10                                  SACRAMENTO DIVISION
           11                                               Case No.     19-21640
                 In re
           12                                               Chapter 13
                 DEBORA LEIGH
           13    MILLER - ZURANICH                          DCN: DTK-1
           14                        Debtor.                NOTICE OF HEARING ON
                                                            MOTION TO DISMISS
           15                                               BANKRUPTCY CASE WITH
                                                            180 DAY BAR TO RE-FILING
           16
                                                            DATE:        October 8, 2019
           17
                                                            TIME:        2:00 p.m.
           18
                                                            DEPARTMENT B
           19                                               COURTROOM 32
                                                            Hon. Christopher D. Jaime
           20

           21
                         NOTICE IS HEREBY GIVEN that on October 8, 2019 at 2:00 p.m. or as soon
           22
                 thereafter as the matter may be heard, before the Honorable Christopher D. Jaime,
           23
                 United States Bankruptcy Judge Courtroom 32, 501 I Street, Sacramento, CA 95814,
           24
                                                     1
                                    MOTION TO DISMISS BANKRUPTCY CASE
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            1    Hall Mortgage Fund, LP shall, and hereby does, move the Court for dismissal of the
            2    above-captioned bankruptcy case. The Motion is supported by the Declaration of

            3    Ronda McNeff, the Request for Judicial Notice and the Memorandum of Points and
            4    Authorities filed herewith.
            5          NOTICE IS FURTHER GIVEN that all of the information contained in the

            6    Motion is not set forth in this notice. A copy of the Motion and all supporting papers
            7    are a part of the Court’s electronic record, which is the official record of the Court, and
            8    can be accessed either through the e-CalWebPACER information system (see

            9    http://www.caeb.uscourts.gov/ --subscription required) or is available for inspection at
           10    computer terminals (printing is available), which are located at the Office of the Clerk,
           11    Suite 3-200, 501 I Street, Sacramento, California.

           12          NOTICE IS FURTHER GIVEN that your rights may be affected. You should
           13    read these papers carefully and discuss them with your attorney, if you have one in this
           14    bankruptcy case. If you do not have an attorney, you may wish to consult one.

           15    Opposition to the Motion, if any, may be presented at the hearing on the Motion. If
           16    opposition is presented, or if there is other good cause, the court may continue the
           17    hearing to permit the filing of evidence and briefs. If you or your attorney do not take

           18    these steps, the court may decide that you do not oppose the relief sought in the Motion
           19    and may enter an order granting the relief requested.
           20          Interested parties can determine whether the matter has been resolved without

           21    oral argument or whether the Court has issued a tentative ruling, and can view any pre-
           22    hearing dispositions by checking the court’s website at www.caeb.uscourts.gov after
           23    4:00 P.M. the day before the hearing. Parties appearing telephonically must view the

           24    pre-hearing dispositions prior to the hearing.
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            1          For a charge, telephonic court appearances may be arranged by contacting Court
            2    Call at (866) 582-6878.

            3    DATE:        October 1, 2019          KIRBY & McGUINN, A P.C.

            4
            5                                          By: /s/ Dean T. Kirby, Jr.
                                                       Dean T. Kirby, Jr.
            6                                          Attorneys for Creditor
                                                       Hall Mortgage Fund, LP
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                                   MOTION TO DISMISS BANKRUPTCY CASE
